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                                       UNITED STATES DISTRICT COUR
                                                                   T
                                          DISTRICT OF NEW JERSEY

            KASHMIR GILL, Individually
                                                           CASE NO. 3:19-cv-06742
                                 PIaindIf,

           V.                                                   CIVIL ACTION

           JUS BROADCASTING CORP., et                STIPuLATION EXTENDiNG TThIE
                                      als.                  TO ANSWER
                                 Defendants.



                 It is hereby stipulated and agreed by
                                                       and between the parties that the time
          the Defendant Joseph Scotto may serve                                              within which
                                                     and tile a responsive pteading to
          otherwise move is hereby extended to April                                     the Complaint or
                                                      ii, 2019.
          Dated: April 1, 2019


          Kates Nussman Ellis
                                                           Man B.. Ackerma     ,   Es
          Farhi & Earle, LLP
                                                                  Atibmey for P1




    __—   MICHAEL FARFU
                                                          ALAN R. AC




                                                                              So Ordered this__day
                                                                              of               2011.
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